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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11   COLTON BRYANT,                               Case No. CV 21-5023 PA (GJSx)
12                        Plaintiff,              JUDGMENT OF DISMISSAL
13
            v.
14
     MARIA DEL CARMEN REYES,
15
                          Defendant.
16
17
18          In accordance with the Court’s October 13, 2021 Minute Order dismissing this action
19   for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED that the
20   action is dismissed without prejudice.
21
22    DATED: October 13, 2021                      ___________________________________
                                                              Percy Anderson
23                                                   UNITED STATES DISTRICT JUDGE

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